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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA

                                     Alexandria Division

UNITED STATES OF AMERICA                        )
                                                )
      v.                                        )   No. 1:21-cr-245 (AJT)
                                                )
IGOR Y. DANCHENKO,                              )
                                                )
      Defendant.                                )


                         MOTION FOR PROTECTIVE ORDER

       Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure, the United States of

America, by and through Special Counsel John H. Durham, hereby respectfully moves the

Court for the entry of a protective order governing the production of unclassified discovery by

the parties in the above-captioned case. A protective order will ensure the confidentiality of

personal identification information and discovery that are included within the materials to be

produced by the government pursuant to its discovery obligations.

       Entry of a protective order restricting the use, dissemination, and disposition of such

documents is essential to permit the United States to provide discovery to the defendant while

protecting, among other things, personal information and other confidential materials. The

United States has attempted to confer with counsel for the defendant, but thus far has received

no response. A copy of the proposed protective order is submitted with this application.
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       WHEREFORE, the United States respectfully moves the Court to enter the proposed

Protective Order Governing Unclassified Discovery.

                                          Respectfully submitted,

                                          JOHN H. DURHAM
                                          Special Counsel

                                   By:            /s/
                                          Andrew DeFilippis
                                          Michael T. Keilty
                                          Jonathan E. Algor
                                          Assistant Special Counsels
                                          U.S. Department of Justice
                                          145 N Street, NE
                                          Washington, D.C. 20530



Dated: November 29, 2021




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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

UNITED STATES OF AMERICA                           )
                                                   )   No. 1:21-cr-245 (AJT)
      v.                                           )
                                                   )
IGOR Y. DANCHENKO,                                 )
                                                   )
      Defendant.                                   )


            MOTION FOR ENTRY OF PROTECTIVE ORDER GOVERNING
                        UNCLASSIFIED DISCOVERY

               To expedite the flow of discovery material between the parties and adequately

protect personal identity information entitled to be kept confidential, it is, pursuant to the

Court’s authority under Fed. R. Crim. P. 16(d)(1), ORDERED:

                                  All Unclassified Materials

       1.      All unclassified materials provided by the United States in preparation for, or in

connection with, any stage of this case (collectively, “the materials”) are subject to this

protective order (“the Order”) and may be used by the defendant and defense counsel (defined

as counsel of record in this case) solely in connection with the defense of this case, and for no

other purpose, and in connection with no other proceeding, without further order of this Court.

       2.      The defendant and defense counsel shall not disclose the materials or their

contents directly or indirectly to any person or entity other than persons employed to assist in

the defense (including, but not limited to, any experts, investigators, database processors, and

administrative or technical personnel), persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize disclosure

(collectively, “authorized persons”). Potential witnesses and their counsel may be shown copies


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of the materials as necessary to prepare the defense, but they may not retain copies without

prior permission of the Court.

       3.      The defendant, defense counsel, and authorized persons shall not copy or

reproduce the materials except in order to provide copies of the materials for use in connection

with this case by defendant, defense counsel, and authorized persons. Such copies and

reproductions shall be treated in the same manner as the original materials. The defendant,

defense counsel, and authorized persons shall not disclose any notes or records of any kind that

they make in relation to the contents of the materials, other than to authorized persons, and all

such notes or records are to be treated in the same manner as the original materials.

       4.      Before providing materials to an authorized person, defense counsel must

provide the authorized person with a copy of this Order.

       5.      Upon conclusion of all stages of this case, all of the materials and all copies

made thereof shall be destroyed or returned to the United States, unless otherwise ordered by

the Court. The Court may require a certification as to the disposition of any such materials.

       6.      The restrictions set forth in this Order do not apply to documents that are or

become part of the public court record, including documents that have been received in

evidence at other trials, nor do the restrictions in this Order limit defense counsel in the use of

the materials in judicial proceedings in this case, except as described below.

                                      Sensitive Materials

       7.      The United States may produce materials containing personal identity

information as identified in Rule 49.1 of the Federal Rules of Criminal Procedure (“sensitive

materials”) to defense counsel, pursuant to the defendants’ discovery requests. Sensitive




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materials shall be plainly marked as “Sensitive Materials” by the United States prior to

disclosure.

       8.      No sensitive materials, or the information contained therein, may be disclosed

to any persons other than the defendant, defense counsel, persons employed to assist the defense

(including, but not limited to, any experts, investigators, database processors, and

administrative or technical personnel), persons who are interviewed as potential witnesses,

counsel for potential witnesses, or the person to whom the sensitive information solely and

directly pertains, without prior notice to the United States and authorization from the Court.

Absent prior permission from the Court, information marked as sensitive shall not be included

in any public filing with the Court, and instead shall be submitted under seal (except if the

defendant chooses to include in a public document sensitive information relating solely and

directly to the defendant).

       9.      Sensitive materials must be maintained in the custody and control of defense

counsel. Defense counsel may show sensitive materials to the defendant, persons who are

interviewed as potential witnesses, or counsel for potential witnesses as necessary to assist in

preparation of the defense, however, defense counsel may not provide a copy of sensitive

materials to the defendant, persons who are interviewed as potential witnesses, or counsel for

potential witnesses.   Moreover, if defense counsel does show sensitive materials to the

defendant, persons who are interviewed as potential witnesses, or counsel for potential

witnesses, defense counsel may not allow the defendant or such persons to write down any

personal identity information as identified in Rule 49.1 of the Federal Rules of Criminal

Procedure that is contained in the sensitive materials. If the defendant or such persons takes

notes regarding sensitive materials, defense counsel must inspect those notes to ensure that the




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defendant or such persons has not copied down personal identity information as identified in

Rule 49.1 of the Federal Rules of Criminal Procedure.

       10.     The procedures for use of designated sensitive materials during any hearing or

the trial of this matter shall be determined by the parties and the Court in advance of the hearing

or trial. No party shall disclose designated sensitive materials in open court without prior

consideration by the Court.

       11.     The Clerk shall accept for filing under seal any filings so marked by the parties

pursuant to this Order.

                                        Scope of this Order

       12.     Modification Permitted. Nothing in this Order shall prevent any party from

seeking modification of this Order or from objecting to discovery that it believes to be otherwise

improper.

       13.     No Waiver. The failure by the United States to designate any materials as

“sensitive” upon disclosure shall not constitute a waiver of the United States’ ability to later

designate the materials as sensitive.

       14.     No Ruling on Discoverability or Admissibility. This Order does not constitute

a ruling on the question of whether any particular material is properly discoverable or

admissible and does not constitute any ruling on any potential objection to the discoverability

of any material.

       SO ORDERED this _____ day of ____________, 2021.



                                          __________________________________________
                                          THE HONORABLE ANTHONY J. TRENGA
                                          UNITED STATES DISTRICT JUDGE




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